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Counsel to Defendants Automatic
Data Processing, Inc. and ADP, Inc.

*Motions for Pro Hac Vice admission forthcoming.

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
                                                   Case No. 2:24-cv-07635-JKS-LDW
DALE YLITALO, individually and on behalf
of all others similarly situated,                  Hon. Jamel K. Semper
                                                   Hon. Leda Dunn Wettre
                        Plaintiff,

                   v.

AUTOMATIC DATA PROCESSING, INC.,
ADP, INC., and AMERICAN CENTURY
INVESTMENT SERVICES, INC.,

                        Defendants.
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                              DEFENDANT ADP, INC.’S
                         CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1(a)(1) of the Federal Rules of Civil Procedure, Defendant ADP, Inc. by

and through its undersigned counsel, discloses that:

       1.      ADP, Inc. is a subsidiary of ADP Atlantic LLC and an indirect wholly owned

subsidiary of Defendant Automated Data Processing, Inc., which is a publicly held corporation.

Dated: July 31, 2024                         Respectfully submitted,
                                             VENABLE LLP

                                       By: /s/ Michael A. Guerra
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                                 *Motions for Pro Hac Vice admission
                                 forthcoming.




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                                CERTIFICATE OF SERVICE

       I certify that on this day, July 31, 2024, I served the above document named “Defendant ADP,

Inc.’s Corporate Disclosure Statement,” which is dated July 31, 2024, on counsel to Plaintiff

Dale Ylitalo via ECF filing and on counsel to Defendant American Century Investment Services, Inc.

by email.

Dated: July 31, 2024

                                                  VENABLE LLP

                                              By: /s/ Michael A. Guerra
                                                   Michael A. Guerra (No. 089092013)
